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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK

 KELLY GOLDSMITH, individually and on
 behalf of all others similarly situated,

                  Plaintiff,

          v.                                                 Case No.

 UBS FINANCIAL SERVICES INC.,                                CLASS ACTION COMPLAINT

                 Defendant.                                  JURY TRIAL DEMANDED




        Plaintiff, on behalf of herself and the proposed Class defined herein, seeks redress for the

harm caused by Defendant’s conduct. In support of her Complaint, Plaintiff alleges the following:

                                I.     NATURE OF THE ACTION

        1.      This case concerns a simple ruse: instead of fulfilling its fiduciary duties and a

regulatory mandate to act only in the best interests of its clients, Defendant implemented, and

continues to implement, a scheme whereby it uses its clients’ cash balances to generate massive

profits for itself while shortchanging its clients—in flagrant violation of its duties to its clients.

                               II.    JURISDICTION AND VENUE

        2.      This Court has subject matter jurisdiction under the Class Action Fairness Act,

codified at 28 U.S.C. § 1332(d). Plaintiff is diverse from Defendant and the amount in controversy

exceeds five million dollars ($5,000,000), exclusive of interest and costs.

        3.      This Court has personal jurisdiction over Defendant because it conducts substantial

business in this district and has its principal place of business here.

        4.      Venue is proper in this district under 28 U.S.C. § 1391.




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                                        III.     PARTIES

        5.      Plaintiff Kelly Goldsmith is a citizen of South Carolina who maintained retail

brokerage accounts that were managed on an advisory basis with Defendant UBS Financial

Services Inc. (“UBS”). Ms. Goldsmith’s accounts (ending in 43, 44 and 93) with UBS were opened

in approximately 2013 and were closed in 2023.

        6.      For the advisory accounts that Ms. Goldsmith maintained, UBS was designated as

an Investment Advisor. Since at least 2021, Ms. Goldsmith’s cash balances in her advisory

accounts were swept into one of UBS’s Sweep Programs, the “UBS Insured Sweep Program,” as

defined below in Section IV.A.

        7.      Defendant UBS is a Delaware corporation with its principal place of business in

New York, New York, and is a registered broker-dealer and investment adviser with the SEC.

                              IV.     FACTUAL ALLEGATIONS

        8.      A significant source of income for UBS is net interest income. Net interest income

is the difference between the amount of interest that UBS pays to or secures for the benefit of its

brokerage and advisory clients and the amount of interest that UBS and its affiliates earn on those

cash balances themselves.

        9.      UBS, like many financial services companies, offers “cash sweep” programs to its

clients. Cash sweep programs figuratively “sweep” clients’ cash balances into interest-bearing

accounts at a network of banks.

        10.     UBS makes more money when its clients’ funds are invested in the UBS cash sweep

programs rather than in similar cash options and equivalents.

        11.     For its clients who are in the UBS cash sweep programs, UBS pays and/or secures

interest rates on the clients’ cash balances that are neither reasonable nor in compliance with its

legal duties.


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       A.      UBS’s Sweep Programs

       12.     UBS offers three cash sweep programs for retail investors: (1) the UBS FDIC-

Insured Deposit Program (“FDIC Program”); (2) the UBS Deposit Account Sweep Program

(“Deposit Program”); and (3) the UBS Insured Sweep Program (“UBS-ISP”).

       13.     The FDIC Program is available to retail clients holding revocable or irrevocable

trusts, so long as none of the beneficiaries are business entities, and sweeps the clients’ cash into

one or more FDIC insured accounts.

       14.     The Deposit Program is available only to retirement advisory accounts. The Deposit

Program sweeps UBS’s clients’ cash balances into an account at UBS Bank US or UBS AG.

       15.     The UBS-ISP is available to retail accounts that are not retirement advisory

accounts. The UBS-ISP sweeps UBS’s clients’ cash balances first into UBS Bank US and then into

one or more other Program Banks on UBS’s Priority List.

       16.     The interest rates paid on balances in the FDIC Program, the Deposit Program, and

the UBS-ISP are the same.1

       17.     Collectively, the FDIC Program, the Deposit Program, and the UBS-ISP are

referred to as UBS’s “Sweep Programs.”

       18.     UBS fails to pay to or secure for its clients a reasonable rate of interest on the cash

balances in its Sweep Programs.

       19.     As of August 5, 2024, the interest rates UBS paid to or secured for its clients with

cash in the Sweep Programs were:2



1     UBS Cash Sweep Programs, UBS, available at https://www.ubs.com/us/en/wealth-
management/misc/account-sweep-yields.html (accessed Aug. 5, 2024).
2     Sweep and Savings Yields, UBS, available at https://www.ubs.com/us/en/wealth-
management/misc/account-sweep-yields.html (accessed Aug. 5, 2024).


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                 From                               To                    Annual Percentage Yield

                $0                               $249,999                            0.05%
             $250,000                            $999,999                            0.10%
             $1 million                         $1,999,999                            .40%
             $2 million                         $4,999,999                            .50%
             $5 million                         and above                            1.05%


       20.        The interest rates that UBS paid to or secured for its clients during the period that

Ms. Goldsmith maintained her account with UBS were materially the same as those set forth in

the preceding paragraph.

       21.        The interest rates UBS pays to or secures for its clients in the Sweep Programs

violate UBS’s duties to its clients because the rates are not reasonable, which constitutes a breach

of UBS’s fiduciary duties to its clients and falls below the standard of care set out in Regulation

Best Interest, 17 CFR § 240.15l-1 (2019) (hereinafter “Reg. BI”).

       22.        UBS’s continual sweep of Ms. Goldsmith’s and the Class members’ cash into the

Sweep Programs during the entire period in which they held accounts with UBS constitutes a

continuing wrong and was a continuing breach of UBS’s duties to Ms. Goldsmith and the Class

members. Each time UBS placed Ms. Goldsmith’s and the Class members’ cash into the Sweep

Programs, UBS newly injured Ms. Goldsmith and the Class members.

       B.         UBS’s Duties to Its Clients

       23.        UBS owes duties to its clients based on the type of relationship it has with the client.

For example:

            a.    for all retail brokerage advisory accounts (i.e. accounts managed by an investment

                  adviser), UBS is required to act as a fiduciary to its clients, meaning it must act for

                  the benefit of its clients and not its own self-interest; and




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           b.   for all retail brokerage non-advisory client accounts (i.e. non-managed accounts),

                UBS is required to always act in the “best interests” of its clients.

                1. UBS’s Duties Under the Advisers Act

        24.     When UBS acts as an Investment Adviser for client accounts, it owes its clients a

fiduciary duty. See Securities and Exchange Commission Interpretation Regarding Standards of

Conduct for Investment Advisers, 84 Fed. Reg. 134, 17 CFR § 276 (July 12, 2019) (“Under federal

law, an investment adviser is a fiduciary.”).

        25.     “The Advisers Act establishes a federal fiduciary duty for investment advisers. This

fiduciary duty is based on equitable common law principles and is fundamental to advisers’

relationships with their clients under the Advisers Act.” Id.

        26.     Under this federal duty, UBS “must, at all times, serve the best interest of its client

and not subordinate its client’s interest to its own. In other words, the investment adviser cannot

place its own interests ahead of the interests of its client.” Id.

        27.     If there is a conflict between UBS’s interests and its client’s interests, then UBS is

also required to “eliminate or make full and fair disclosure of all conflicts of interest which might

incline an adviser—consciously or unconsciously—to render advice which is not disinterested

such that a client can provide informed consent to the conflict.” Id.

        28.     UBS “must make full and fair disclosure to its clients of all material facts relating

to the advisory relationship.” Id.

        29.     UBS’s fiduciary duties also include a duty of care to carry out its responsibilities in

an informed and considered manner and to act as an ordinary prudent person would act in the

management of her or her own affairs. In addition, because UBS becomes a fiduciary on the basis

of representations of special skills or expertise, it is under a duty to use those skills and expertise

for the benefit of its clients.


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                2. UBS’s Duties Under Regulation Best Interest (Reg. BI)

        30.     Where UBS is acting in its capacity as a broker-dealer, it is obligated to act in its

clients’ best interests under Reg. BI. 17 C.F.R. § 240.151-1.

        31.     Reg. BI incorporates “key principles underlying fiduciary obligations, including

those that apply to investment advisers under the Advisers Act, while providing specific

requirements to address certain aspects of the relationships between broker-dealers and their retail

clients.” 84 Fed. Reg. 33318, 33320. Reg. BI and common law principles of fiduciary obligations

“generally yield substantially similar results in terms of the ultimate responsibilities owed to retail

investors.”3

        32.     Under Reg. BI, the investor “will be entitled to a recommendation … or advice …

that is in the best interest of the retail investors and that does not place the interests of the firm or

the financial professional ahead of the interests of the retail investor.” 84 Fed. Reg. 33318, 33321.

        33.     Reg. BI consists of a “General Obligation,” which states, “When making a

recommendation, a broker-dealer must act in the retail customer’s best interest and cannot place

its own interests ahead of the customer’s interests.” 84 Fed. Reg. 33318, 33320.

        34.     Within the General Obligation are more specific duties, including disclosure duties

and a duty to avoid and disclose conflicts of interest.

        35.     These specific duties require disclosure of “all material facts relating to conflicts of

interest … that might incline a broker-dealer to make a recommendation that is not disinterested,

including, for example, conflicts associated with proprietary products, payments from third parties,

and compensation arrangements.” 84 Fed. Reg. 33318, 33321.


3      See SEC Staff Bulletin: Standards of Conduct for Broker-Dealers and Investment Advisers
Care Obligations (June 7, 2024), available at www.sec.gov/tm/standards-conduct-broker-dealers-
and-investment-advisers.


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       36.     Part of a broker-dealer’s obligation under Reg. BI is to “consider reasonable

alternatives, if any, offered by the broker-dealer in determining whether it has a reasonable basis

for making the recommendation.” 84 Fed. Reg. 33318, 33321.

       37.     One component of a broker-dealer’s duty to disclose conflicts of interest concerns

compensation. “The receipt of higher compensation for recommending some products rather than

others, whether received by the broker-dealer, the associated person, or both, is a fundamental and

powerful incentive to favor one product over another.” 84 Fed. Reg. 33318, 33364.

       38.     Pursuant to Reg. BI, UBS was required to act in the best interests of its clients when

recommending an account type to its clients, including “understanding of the characteristics of a

particular type of account [and] should consider, without limitation, factors such as the services

and products provided in the account (including ancillary services provided in conjunction with an

account type).”4

       39.     The SEC recently reiterated that compensation, revenue, and other benefits from

cash sweep programs give rise to a conflict of interest for both broker-dealers and investment

advisers.5

       40.     UBS’s default placement of Ms. Goldsmith’s and the Class members’ cash into the

Sweep Programs constitutes a “recommendation” within the scope of Reg. BI, and as a result, UBS

was required to act in the best interests of its client when making that recommendation.




4       See SEC Staff Bulletin: Standards of Conduct for Broker-Dealers and Investment Advisers
Account Recommendations for Retail Investors (June 7, 2024), available at
https://www.sec.gov/tm/iabd-staff-bulletin.
5       See Staff Bulletin: Standards of Conduct for Broker-Dealers and Investment Advisers
Conflict of Interest (June 12, 2024), available at https://www.sec.gov/tm/iabd-staff-bulletin-
conflicts-interest.


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       41.       Under Reg. BI, UBS was and is obligated to elevate its clients’ interests above its

own, to avoid conflicts with clients’ interests, and to disclose material facts concerning any

conflicts that may exist.

       C.        UBS Breaches Its Duties and Profits Thereby

       42.       UBS breaches its duties to pay or secure reasonable interest rates for its clients’

cash deposits.

       43.       Although UBS does not define the term “reasonable,” according to the term’s

dictionary definition, it is synonymous with “fair” and “proper.”6

       44.       IRS regulations define an “arm’s-length interest rate” as:

                 a rate of interest which was charged, or would have been charged, at the
                 time the indebtedness arose, in independent transactions with or between
                 unrelated parties under similar circumstances.

26 CFR § 1.482-2(a)(2).

       45.       In 2003, in the context of discussing certain transaction restrictions in ERISA, the

Department of Labor provided the following definition of a “reasonable” rate of interest:

                 A “reasonable” rate of interest means a rate of interest determinable by
                 reference to short-term rates available to other clients of the bank, those
                 offered by other banks, those available from money market funds, those
                 applicable to short-term instruments such as repurchase agreements, or by
                 reference to a benchmark such as sovereign short term debt (e.g., in the U.S.,
                 treasury bills), all in the jurisdiction where the rate is being evaluated.

68 Fed. Reg. 34646, at 34648 (June 10, 2003).

       46.       Under any definition of the term, UBS did not pay or secure “reasonable” rates of

interest to Plaintiff and proposed Class members.




6      See Reasonable, Black’s Law Dictionary (12th ed.).


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          47.    The rates offered by UBS through its Sweep Programs are significantly lower than

sweep programs at other brokerage and advisory firms. For example, the following chart compares

UBS’s Sweep Programs’ rates with those of two comparable programs:

                     UBS’s Sweep
                                        Vanguard         InteractiveBrokers
    Cash Balance      Programs’                                                       Fidelity10
                                       Sweep Rate8          Sweep Rate9
                        Rates7
    Less than
                         0.05%             4.6%                 4.83%                  4.98%
    $250,000
    Between
    $250,000
                         0.10%             4.6%                 4.83%                  4.98%
    million and
    $999,999
    Between $1
    million and          0.40%             4.6%                 4.83%                  4.98%
    $1,999,999
    Between $2
    million and          0.50%             4.6%                 4.83%                  4.98%
    $4,999,999
    $5 million and
                         1.05%             4.6%                 4.83%                  4.98%
    above

          48.    Thus, other brokerage and advisory financial institutions that use sweep programs

pay or secure significantly higher rates than UBS’s Sweep Programs.

          49.    Money market fund rates also provide a benchmark for determining what

constitutes a “reasonable rate” and /or a reasonable alternative investment for clients’ cash.




7     Sweep and Savings Yields, UBS, available at https://www.ubs.com/us/en/wealth-
management/misc/account-sweep-yields.html (accessed Aug. 5, 2024).
8      See Vanguard Cash Plus Account, available at https://investor.vanguard.com/accounts-
plans/vanguard-cash-plus-account (accessed Aug. 5, 2024).
9       See Safeguard Your Assets with Our Insured Bank Deposit Sweep Program,
https://www.interactivebrokers.com/en/accounts/sweep-program.php (accessed Aug. 5, 2024);
Interest Rates, available at https://www.interactivebrokers.com/en/accounts/fees/pricing-interest-
rates.php, (accessed Aug. 5, 2024).
10      See Help your cash work harder, available at https://www.fidelity.com/go/manage-cash-
rising-costs (accessed Aug. 5, 2024).


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        50.    UBS offers a money market fund for cash sweep, but it only offers that option to

403(b) plans,11 qualified pooled plans, and corporate cash management accounts. That option was

not available to Plaintiff or the other Class members. The money market fund that UBS offers to

403(b) plans, qualified pooled plans, and corporate cash management clients pays significantly

higher interest rates than UBS’s Sweep Programs.12

        51.    Some of UBS’s competitors automatically sweep any uninvested cash deposited

into its clients’ brokerage accounts into money market funds that earn comparably high rates of

interest. For example, by default, Fidelity sweeps uninvested cash in its clients’ brokerage accounts

into a money market fund currently earning approximately 5%. 13

        52.    Likewise, competing firms Vanguard and Interactive Brokers offer cash sweep rates

of 4.6% and 4.83% respectively.

        53.    In contrast, UBS’s Sweep Programs offer as little as 0.05% for Plaintiff and Class

members.

        54.    UBS has devised a scheme by which it generates significant profits using clients’

cash balances. The scheme is devised to maximize profits for UBS while at the same time

disregarding its clients’ best interests – in fact, UBS generates interest income on its clients’ cash

balances that are orders of magnitude greater than amounts the client receives.




11      403(b) plans are similar to 401(k)s for those who work in public education or nonprofits.
12    Sweep and Savings Yields, UBS, available at https://www.ubs.com/us/en/wealth-
management/misc/account-sweep-yields.html (accessed Aug. 5, 2024).
13      See Help your cash work harder, available at https://www.fidelity.com/go/manage-cash-
rising-costs (accessed Aug. 5, 2024).


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        D.      UBS Benefits from Its Misconduct

        55.     UBS earns interest revenue on non-trading assets that it holds for its clients; this

includes cash deposits and other capital that is not deployed for trading purposes.

        56.     The difference between what UBS earns on the deposits in the Sweep Programs

and what it pays its clients is the company’s net interest income.

        57.     A significant portion of income reported by UBS AG, UBS’s parent company, 14 is

net interest income generated by its Global Wealth Management business division—the business

unit that provides investment-related advice and services for customer funds and serves as a

broker-dealer for UBS AG’s clients, and of which UBS is a part.

        58.     UBS’s net revenue is heavily impacted by its net interest income. In 2023, UBS AG

reported that its Wealth Management division generated $6.965 billion in net interest income. 15

        59.     UBS AG reported that its “businesses are sensitive to changes in interest rate

trends,” and a prolonged low period of interest rates may “adversely affect[] the net interest

income” generated by UBS AG.16

        60.     Changes in interest rates also mean that UBS’s clients may decrease their cash

deposits. As UBS AG reported, “[c]ustomer deposit outflows could require UBS to obtain

alternative funding, which would likely be more costly than customer deposits.”17

        61.     Thus, UBS has a significant financial interest in (1) not paying clients a reasonable

interest rate and keeping as much of the “spread” as it can, and simultaneously (2) not disclosing


14      UBS AG owns 100% of UBS. Annual Report 2023, UBS Group, at p. 403, available at
https://www.ubs.com/content/dam/assets/cc/investor-relations/annual-report/2023/files/annual-
report-ubs-group-2023.pdf .
15
        Annual Report 2023, UBS Group, at p. 78.
16      Id. at p. 67.
17      Id.


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to its clients the unreasonable interest rates it pays (as well as the company’s inherent conflict of

interests), lest the clients pursue accounts with reasonable rates at other institutions.18

        E.     UBS Increased the Rates It Pays to or Secures for Its Clients

        62.    In an implicit admission that its cash sweep programs violated its obligations to its

clients, UBS AG recently reported “that by the middle of the fourth quarter [UBS AG] intends to

adjust the sweep deposit rates in U.S. advisory accounts, with the company expecting a reduction

in pretax profits by around $50 million annually.”19

                            V.      CLASS ACTION ALLEGATIONS

        63.    Plaintiff re-alleges and incorporates by reference the allegations set forth above.

        64.    Plaintiff brings this class action and seeks certification of the following Class:

               Retail clients of UBS who had cash deposits or balances in UBS’s Sweep
               Programs.

        65.    Excluded from the Class are governmental entities, institutional and other non-

retail investors; UBS, UBS AG, UBS Bank and any of their affiliates, legal representatives,

employs, or officers; the judicial officer(s) and any judicial staff overseeing this litigation; and

counsel for Plaintiff and the proposed Class, including other attorneys and staff at each respective

firm.

        66.    This action has been brought and may be maintained as a class action under Federal

Rule of Civil Procedure 23.




18    See https://www.fidelity.com/go/manage-cash-rising-costs (“Compare our rates to the
competition/See how much more your cash could earn in a Fidelity brokerage account”).
19     After UBS earnings, is cash sweep drama over?, InvestmentNews (Aug. 14, 2024)
available at https://www.investmentnews.com/broker-dealers/news/after-ubs-earnings-is-cash-
sweep-drama-over-256318.


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                                            Numerosity
                                            Rule 23(a)(1)

        67.      Class members are so numerous that their individual joinder is impracticable. The

precise number of Class members and their identities are unknown to Plaintiff at this time.

However, UBS markets itself as a “leading global wealth manager” backed by $5.8 trillion in

invested assets.20 Accordingly, Plaintiff and the Class satisfy the numerosity requirement of Rule

23. Class members may be notified of the pendency of this action by mail, published notice, or

other appropriate methods.

               Existence and Predominance of Common Questions of Law and Fact
                                    Rule 23(a)(2), 23(b)(3)

        68.      Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. These common legal and factual

questions, each of which may also be certified under Rule 23(c)(4), include the following:

          a.     whether the interest rates paid to or secured for UBS’s retail clients in UBS’s cash

                 sweep programs are “reasonable”;

          b.     whether UBS owed a fiduciary duty to the Class, and whether UBS violated that

                 duty;

          c.     whether UBS owed a duty to the Class under Reg. BI, and whether UBS violated

                 that duty;

          d.     whether UBS was unjustly enriched by its wrongful conduct;

          e.     whether and to what extent Class members are entitled to damages and other

                 monetary relief; and




20    Q24 Corporate profile, UBS, available for download at https://www.ubs.com/us/en/wealth-
management/our-approach/financial-advisors.html.


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          f.   whether and to what extent Class members are entitled to attorneys’ fees and costs.

                                            Typicality
                                           Rule 23(a)(3)

       69.     Plaintiff’s claims are typical of the Class’s claims because she was a retail account

holder with UBS who received an unreasonable interest rate on her cash sweep balances. Thus,

Plaintiff’s claims are typical of other Class members’ claims as they arise from the same course of

conduct by Defendant, and the relief sought is common to Class members.

                                   Adequacy of Representation
                                         Rule 23(a)(4)

       70.     Plaintiff will fairly and adequately protect the interests of Class members.

Plaintiff has retained counsel competent and experienced in complex class action litigation, and

Plaintiff will prosecute this action vigorously. Plaintiff has no interests adverse or antagonistic to

those of the Class.

                                            Superiority
                                           Rule 23(b)(3)

       71.     A class action is superior to all other available means for the fair and efficient

adjudication of this controversy. The damages or other financial detriment suffered by individual

Class members are small compared with the burden and expense required for each Class member

to individually litigate their claims against Defendant. It would thus be virtually impossible for

Class members, on an individual basis, to obtain effective redress for the wrongs done to them.

       72.     Even if Class members could afford individualized litigation, the court system

could not. Individualized litigation would create the danger of inconsistent or contradictory

judgments arising from the same set of facts. Individualized litigation would also increase the

delay and expense to all parties and the court system from the issues raised by this action. By

contrast, the class action device provides the benefits of adjudication of these issues in a single



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proceeding, economies of scale, and comprehensive supervision by a single court, and presents

no unusual management difficulties under the circumstances here.

        73.     Superiority is particularly satisfied in these circumstances, where the law of a single

state will apply to all state law claims. Under the uniform contract terms with UBS, the law of

New York will apply to each Class member’s state law claims, allowing the Court to adjudicate

the claims of all Class members under a single state analysis.

        74.     Additionally, the Class may be certified under Rule 23(b)(1) and/or (b)(2) because:

           a.   The prosecution of separate actions by individual Class members would create a

                risk of inconsistent or varying adjudications with respect to individual Class

                members that would establish incompatible standards of conduct for Defendant;

           b.   The prosecution of separate actions by individual Class members would create a

                risk of adjudications with respect to them which would, as a practical matter, be

                dispositive of the interests of other Class members not parties to the adjudications,

                or substantially impair or impede their ability to protect their interests; and/or

           c.   Defendant has acted or refused to act on grounds generally applicable to the Class,

                thereby making appropriate final and injunctive relief with respect to the Class

                members as a whole.

                                  VI.     CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
                                     Breach of Fiduciary Duty
                          Brought on Behalf of the Class Against Defendant

        75.     Plaintiff, on behalf of herself and the Class, re-alleges the paragraphs above as if

fully set forth herein.

        76.     UBS owed fiduciary duties to Class members who maintained cash deposits or

balances in UBS’s Sweep Programs (including IRAs).


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        77.     UBS’s fiduciary duties include, but are not limited to:

           a.   a duty of undivided loyalty;

           b.   a duty to act in the best interests of its clients;

           c.   a duty of care;

           d.   a duty not to place UBS’s interests above those of its clients;

           e.   a duty to avoid conflicts of interest; and

           f.   a duty to disclose any conflicts of interest.

        78.     UBS violated each of the foregoing duties when it (1) failed to pay to or secure for

Plaintiff and the Class a reasonable rate of interest; (2) failed to act in Plaintiff’s and the Class’s

best interests by not providing a reasonable default for cash balances that paid its clients a

reasonable rate of interest on cash balances; (3) placed its own interests in realizing financial gain

from net interest income ahead of Plaintiff and the Class’s interests in obtaining a reasonable rate

of interest; (4) maintained and failed to reasonably disclose its conflict of interest in securing

increased net interest income at the expense of its clients; (5) failed to recommend to Plaintiff and

the Class a cash sweep program that would pay a reasonable rate of interest.

        79.     UBS’s conduct damaged Plaintiff and the Class.

        80.     Plaintiff, individually and on behalf of the Class, seeks all damages permitted by

law.

                                 SECOND CLAIM FOR RELIEF
                                        Unjust Enrichment
                          Brought on Behalf of the Class Against Defendant

        81.     Plaintiff, on behalf of herself and the Class, re-alleges the paragraphs above as if

fully set forth herein.




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          82.    As a result of UBS’s wrongful conduct, Plaintiff and the Class received lower

interest payments on their cash and other deposits than they would have in a reasonable and fair

market.

          83.    As a result of UBS’s wrongful conduct, UBS was unjustly enriched and Plaintiff

and the Class conferred a benefit upon UBS because UBS received significantly greater net interest

income than it would have but for its wrongful conduct.

          84.    UBS appreciated, knowingly accepted, and retained the non-gratuitous benefits

conferred by Plaintiff and the Class.

          85.    It would be inequitable and unjust for UBS to retain these wrongfully obtained

benefits.

          86.    UBS’s retention of these wrongfully obtained benefits would violate fundamental

principles of justice, equity, and good conscience.

          87.    Plaintiff and the Class are entitled to restitution and disgorgement of the benefits

unjustly obtained, plus interest.

                                    VII.   DEMAND FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of herself and the Class, demands judgment and relief

as follows:

            1.   For an order certifying the proposed Class, and appointing Plaintiff and her counsel

                 to represent the proposed Class;

            2.   For an order awarding Plaintiff and Class members damages in an amount to be

                 proven at trial, together with pre-trial and post-trial interest thereon;

            3.   For an order awarding Plaintiff and Class members restitution, disgorgement, or

                 such other and further relief as the Court deems proper; and




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         4.   For an order awarding Plaintiff and the Class reasonable attorneys’ fees and costs

              of suit, including expert witness fees.

                               VIII. JURY TRIAL DEMAND

      Plaintiff, on behalf of herself and the Class, demands a trial by jury on all issues so triable.

DATED: August 22, 2024                        Respectfully submitted,

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